                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

 CORINA CAMACHO, Individually and on
 behalf of G.M, a Minor, et al.,

                               Plaintiffs,
                                                          Case No.: 22-cv-00048
        v.

 THE UVALDE CONSOLIDATED
 INDEPENDENT SCHOOL DISTRICT, et
 al.,

                               Defendants.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                      OF SCHNEIDER ELECTRIC USA, INC.

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Corina Camacho,

G.M., Tanisha Rodriguez, G.R., and Selena Sanchez, D.J. (collectively “Plaintiffs”) provide notice

that all claims previously asserted by Plaintiffs against Schneider Electric USA, Inc. (“Schneider”)

are voluntarily dismissed without prejudice. As of this filing, Schneider has not filed an answer

or a motion for summary judgment in this action. Each party to bear its own costs, fees, and

expenses.

       Dated: November 9, 2022                       BAUM, HEDLUND, ARISTEI, &
                                                     GOLDMAN, P.C.

                                                     /s/ Stephanie Sherman
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                              CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed electronically

on all counsel of record via CM/ECF on November 9, 2022.

                                                  /s/ Stephanie Sherman
                                                  Stephanie Sherman




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